    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                Page 1 of 11 PageID 1



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 SECURITIES AND EXCHANGE COMMISSION,

                        Plaintiff,

           v.                                                Civ. Action No. 4:24-cv-00558

 MATTHEW BROWN and                                           JURY TRIAL DEMANDED
 MATTHEW BROWN COMPANIES, LLC,

                        Defendants.



                                           COMPLAINT

       The Securities and Exchange Commission (“SEC”) files this Complaint against Matthew

Brown (“Brown”) and Matthew Brown Companies, LLC (“Matthew Brown Companies”)

(together, “Defendants”), and alleges as follows:

                                      I.      SUMMARY

       1.       In March 2023, Defendants engaged in a fraudulent scheme to submit and publicly

tout a bogus offer to purchase $200 million of stock from Virgin Orbit Holdings, Inc. (“Virgin

Orbit”).

       2.       On March 19, 2023, Defendant Brown sent unsolicited messages to Virgin Orbit

executives offering to invest $200 million in Virgin Orbit, which at the time was teetering on the

brink of bankruptcy and seeking a funding lifeline. To convince Virgin Orbit that the offer was

legitimate, Brown made false and misleading statements and omissions about his investment

experience and funds available to make such an offer. Brown claimed that he had previously

invested hundreds of millions of dollars of his “personal capital,” primarily in space companies.

Most egregiously, Brown sent Virgin Orbit a fabricated screenshot of his company’s bank account
    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                 Page 2 of 11 PageID 2



purporting to show a balance of over $182 million in the account, when in fact, the account held

less than $1 at the time.

       3.      Brown’s bogus offer leaked to the media shortly after he made it, and Virgin Orbit’s

stock price rose approximately 33.1%.

       4.      Thereafter, on March 23, 2023, Brown appeared on CNBC, where he falsely

portrayed himself as an experienced venture capitalist with investments “in over 13 space

companies” and made false and misleading statements and omissions to the investing public

concerning the legitimacy of his bogus $200 million offer.

       5.      After appearing on CNBC, Brown attempted to profit from his misconduct by

requesting that Virgin Orbit pay him a “break-up” fee if his proposed investment did not close.

But Virgin Orbit refused to agree to any such fee.

       6.      Brown then failed to respond to Virgin Orbit’s due diligence inquiries and, of

course, never funded the offer. When the market learned that Brown’s offer had collapsed, Virgin

Orbit’s stock price dropped, and the company filed for bankruptcy soon after.

       7.      By engaging in the acts and conduct alleged herein, Defendants violated Section

10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 thereunder. The

SEC seeks: (i) permanent injunctive relief against both Defendants; (ii) an officer-and-director bar

against Brown; and (iii) a civil penalty against Brown.

                            II.     JURISDICTION AND VENUE

       8.      The SEC brings this action pursuant to the authority conferred upon it by Sections

21(d) and 21(e) of the Exchange Act [15 U.S.C. §§ 78u(d) and 78u(e)].

       9.      This Court has jurisdiction over this action pursuant to Sections 21(d), 21(e), and

27 of the Exchange Act [15 U.S.C. §§ 78u(d), (e), and 78aa].



                                                 2
     Case 4:24-cv-00558-O Document 1 Filed 06/17/24                   Page 3 of 11 PageID 3



        10.     Defendants, directly or indirectly, made use of the mails or means or

instrumentalities of interstate commerce, transportation, or communication, and/or of facilities of

a national securities exchange in interstate commerce, in connection with the acts, practices,

transactions, and courses of business alleged in this Complaint.

        11.     Venue is proper in this District pursuant to Section 27 of the Exchange Act [15

U.S.C. § 78aa]. One or both Defendants transact business in this District, and on information and

belief, one or both Defendants are found or are inhabitants of this District. In addition, certain acts,

practices, and/or transactions constituting violations of the securities laws alleged herein occurred

within this District.

                                      III.    DEFENDANTS

        12.     Defendant Matthew Brown is believed to reside in the Dallas-Fort Worth area. In

the SEC’s investigation that preceded the filing of this Complaint, Brown testified that he leased

an apartment in Dallas, Texas at or around the time of the relevant events in this case (i.e., March

2023), and claimed that his lease expired in or around August 2023. His parents reside in Fort

Worth, Texas, and on information and belief, Brown either is residing or has resided there. Public

records list various addresses in or around Dallas and Fort Worth associated with Brown since

2020.

        13.     Defendant Matthew Brown Companies is a Delaware limited liability company

with its principal place of business in Fort Worth, Texas. Brown is the President, sole managing

member, and sole employee of Matthew Brown Companies. Its sole filing with the Delaware

Secretary of State is a Certificate of Formation filed in April 2020 that lists Brown as its sole

member and his address in Fort Worth, Texas. This same Fort Worth address is listed as the mailing

address for Matthew Brown Companies on its bank account statements as recently as March 2023.

These bank account statements relate to a bank account in the name of Matthew Brown Companies
                                                   3
      Case 4:24-cv-00558-O Document 1 Filed 06/17/24                Page 4 of 11 PageID 4



at a bank branch located in Fort Worth, Texas—the same bank account for which Brown sent a

fabricated screenshot to Virgin Orbit on March 19, 2023. Matthew Brown Companies has also

held itself out as a Texas venture capital firm via its website, www.matthewbrowncompanies.com.

                                         IV.     FACTS

      A. Virgin Orbit

         14.    In 2017, Virgin Group spun off newly formed Virgin Orbit from Virgin Galactic

Holdings, Inc. (“Virgin Galactic”). Virgin Galactic primarily offered space tourism services,

while Virgin Orbit provided commercial satellite launch services.

         15.    After the spin-off, Virgin Orbit began trading publicly on the Nasdaq under the

Ticker Symbol: VORB. 1

         16.    Virgin Orbit carried out six missions, four of which were successful. Its last

mission, in January 2023, was not successful, as the launched rockets failed to reach orbit and the

commercial and defense satellites they were carrying fell into the ocean.

         17.    On March 15, 2023, CNBC reported that Virgin Orbit was furloughing nearly all

its employees and pausing operations for one week as it looked for a funding lifeline. Later that

day, Virgin Orbit filed a Form 8-K with the SEC, disclosing that it would immediately initiate a

company-wide operational pause to conserve capital, pursue additional funding, and explore

strategic opportunities.

         18.    After markets opened the next day, on March 16, 2023, Virgin Orbit’s stock price

fell from $1.01 per share to $0.71 per share.




1
    Virgin Orbit’s Ticker Symbol became VORBQ when it filed bankruptcy.
                                                4
    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                   Page 5 of 11 PageID 5



   B. Defendants’ Bogus Offer and Misrepresentations and Omissions to Virgin Orbit.

       19.     On March 19, 2023, Brown sent an unsolicited message via LinkedIn to Virgin

Orbit’s CEO to discuss a possible “capital injection.” After the CEO responded, Brown wrote back

on March 19, 2023: “I have invested over $750mm of my personal capital, largely in this [space]

vertical, and largely in stealth mode…. I have the bandwidth to write the $200mm.” He further

emphasized: “I want to reiterate this [sic] my capital not…anyone else’s.”

       20.     Brown had never invested “over $750mm” of his personal capital, he had never

held any personal investments or positions in any space companies, and he did not have the

bandwidth to invest $200 million of his own capital or from any other known source of capital

accessible to him at the time. In fact, at or around the time of his statements to Virgin Orbit’s CEO,

Brown was self-employed and, as he later admitted under oath, his net worth was “negative”—

none of which he disclosed to Virgin Orbit in this message or in subsequent communications with

Virgin Orbit. Also, by representing that his earlier investments were “largely in stealth mode,”

Brown created the false and misleading impression that his alleged investment history was hidden

from public view, when, in fact, no such investment history existed.

       21.     Nonetheless, on March 19, 2023, the same day as his LinkedIn message, Brown

sent an unsolicited email to Virgin Orbit’s Vice President (“VP”) of Investor Relations to set up a

call regarding “financing.” After exchanging emails, Brown, on behalf of himself and Matthew

Brown Companies, emailed the VP of Investor Relations on March 19, 2023: “I hope this can get

the ball rolling. I do not have access to my J.P. M brokerage acct but this should hopefully paint a

decent picture until we get further down the road.” Brown attached to his email a screenshot of a

bank account in the name of Matthew Brown Companies purporting to show a “current” and

“accessible” balance, as of March 19, 2023, of $182,383,991.26.



                                                  5
    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                  Page 6 of 11 PageID 6



          22.   The screenshot attached to Brown’s March 19, 2023 email to Virgin Orbit’s VP of

Investor Relations was fabricated and contained materially false and misleading representations.

Specifically, as of March 19, 2023, the actual balance of the Matthew Brown Companies’ bank

account that Brown identified to support his offer was less than $1, which Defendants never

disclosed to Virgin Orbit.

          23.   By falsely portraying his experience and available funding, Brown was able to

engage Virgin Orbit in negotiations over his bogus offer. At the outset of these negotiations, Virgin

Orbit sent Brown a non-disclosure agreement (“NDA”) requiring each side to safeguard and not

disclose any confidential information exchanged during discussions surrounding Defendants’

proposed investment. Both sides executed the NDA on or around March 19 or 20, 2023. At

Defendants’ request, Virgin Orbit also prepared and sent Defendants a term sheet for the proposed

$200 million investment on or around March 20, 2023. The term sheet provided for Brown to

receive $200 million of Virgin Orbit preferred stock, convertible to common stock following

stockholder and regulatory approval, in exchange for Brown’s $200 million investment.

          24.   On March 19 and 20, 2023, Brown had additional calls and emails with

representatives of Virgin Orbit where he repeated the same or similar false and misleading

statements and omissions discussed above. In emails on March 19 and 20, 2023 with Virgin Orbit’s

representatives, Brown also represented that he had a law degree from Southern Methodist

University in Dallas, when in fact Brown had never graduated from college, let alone attended law

school.

          25.   Brown also sought to induce Virgin Orbit to expedite the transaction. For example,

on March 20, 2023, after Virgin Orbit sent Brown and his lawyer a draft term sheet, Brown

responded: “[i]n the interest of time, let us both work together outside counsel until definitive



                                                 6
    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                 Page 7 of 11 PageID 7



agreements. (aka let us get the [term sheet] executed and then we can run the race – I would prefer

to do the [term sheet] tonight or within the next 24hr.).”

       26.     On March 22, 2023, Virgin Orbit filed a Form 8-K with the SEC announcing it

would immediately resume operations to prepare for its next mission while it sought new

funding—a significant change from its March 15, 2023 Form 8-K announcing a company-wide

operational pause. Although this announcement did not mention Brown or the term sheet, a couple

of hours later, Reuters reported that Virgin Orbit was near a deal to raise $200 million from

Matthew Brown Companies, “according to a term sheet seen by Reuters.”

       27.     These public reports following the bogus offer—including Virgin Orbit’s March

22, 2023 Form 8-K and the Reuters report published the same day—inflated Virgin Orbit’s stock

price. Following Virgin Orbit’s Form 8-K filing and the publication of the Reuters article, Virgin

Orbit’s stock price rose 33.1% on March 22, 2023, from $0.44 per share to $0.59 per share. Trading

volume for VORB shares also increased on March 22, 2023 in comparison to the day before.

       28.     Brown knew, or was severely reckless in not knowing, that his deceptive conduct,

misstatements, and omissions about his background and available funds would create the false and

misleading impression that Defendants’ $200 million offer was legitimate and would trigger public

announcements that could impact Virgin Orbit’s stock price.

   C. Defendants’ False and Misleading Statements and Omissions on CNBC.

       29.     Despite having executed an NDA with Virgin Orbit only days earlier, Brown

appeared on CNBC on March 23, 2023, where he participated in a live, nationally televised

interview that was broadcast to the general public. During that interview, Brown confirmed the

reported $200 million investment offer that he and his company proposed to Virgin Orbit. Brown

further represented that he and his company were in “final discussions” with Virgin Orbit and that

they “fully plan” on closing a transaction “in the next 24 hours.” Although he suggested that he
                                                  7
     Case 4:24-cv-00558-O Document 1 Filed 06/17/24                Page 8 of 11 PageID 8



could not get into the details of the discussions, he confirmed his proposed investment would

“make [Virgin Orbit] cash flow positive” and that he would “basically be the owner” of Virgin

Orbit as a result of the transaction.

        30.     During his CNBC interview, Brown also portrayed himself and Matthew Brown

Companies as successful, experienced venture capitalists within the space industry. He even

claimed that he and his company held investments “in over 13 space companies.”

        31.     In reality, Brown and his company had never held any investments or positions in

any space companies, much less investments in “over 13 space companies.” He also lacked the

capital and resources needed to close on the $200 million investment, had no experience making

investments of the magnitude purportedly offered to Virgin Orbit, and later admitted in testimony

that his net worth at the time was “negative”—none of which he disclosed in his CNBC interview

or in any subsequent disclosures to investors.

        32.     Brown knew, or was severely reckless in not knowing, that his misstatements and

omissions during the CNBC interview about his background and purported offer were false, would

create the false and misleading impression that Defendants’ $200 million offer was legitimate, and

could impact Virgin Orbit’s stock price.

    D. Virgin Orbit Files Bankruptcy After Negotiations With Defendants Collapse.

        33.     Shortly after the CNBC interview, Brown attempted—unsuccessfully—to profit

from his deceptive conduct (and his false and misleading statements and omissions) through a

proposed “break-up” fee. Specifically, on March 24, 2023, Brown wrote to Virgin Orbit, lamenting

that he “wish[ed] [his] name was never made public,” and that he had supposedly “been on the

phone nonstop since the leak” of his offer (i.e., the Reuters article). Thus, before signing a term

sheet that required him to disclose confidential information to Virgin Orbit, Brown proposed that



                                                 8
    Case 4:24-cv-00558-O Document 1 Filed 06/17/24                 Page 9 of 11 PageID 9



Virgin Orbit agree to “a break up fee of 3%” to be paid to him if the investment transaction did

not close.

       34.     Virgin Orbit refused Brown’s break-up fee proposal and responded on March 24,

2023: “[i]f you have funds and can place them in a verifiable escrow account with the appropriate

agreement and can send to us [then] we can discuss.” Brown responded by again asking for Virgin

Orbit to agree to a break-up fee, to which Virgin Orbit again reiterated that Brown needed to first

place the necessary funds in escrow and respond to Virgin Orbit’s basic due diligence requests.

       35.     Because Brown continued to refuse to escrow funds (which he did not have) or

respond to Virgin Orbit’s basic due diligence requests, negotiations quickly broke down. By March

24, 2023, Brown conceded to Virgin Orbit that “[i]t looks like the deal will not consummate….”

On March 25, 2023, Virgin Orbit’s counsel sent Brown a cease-and-desist letter, demanding that

he stop disclosing confidential information and communications in violation of the NDA.

       36.     On March 27, 2023—after the markets closed—CNBC reported that Virgin Orbit

had failed to obtain new funding, noting that Brown’s offer had collapsed. When markets reopened

the next day, on March 28, 2023, Virgin Orbit’s stock price dropped approximately 28.4%, from

approximately $0.54 per share to $0.38 per share. A week later, on April 4, 2023, Virgin Orbit

filed for bankruptcy, and on May 2, 2023, it was delisted from Nasdaq.

                                V.      CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                 Violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]
                  and Rule 10b-5(a)-(c) thereunder [17 C.F.R. §§ 240.10b-5(a)-(c)]
                                          (Against Defendants)

       37.     The SEC re-alleges and incorporates paragraphs 1-36 above by reference as if fully

set forth hereunder.



                                                9
   Case 4:24-cv-00558-O Document 1 Filed 06/17/24                   Page 10 of 11 PageID 10



       38.     By engaging in the acts and conduct alleged herein, and as alleged in paragraphs

19-36 above, Defendants, directly or indirectly, singly or in concert with others, in connection with

the purchase or sale of securities, by the use of any means or instrumentality of interstate

commerce, or of the mails or of any facility of any national securities exchange:

               •   employed a device, scheme, or artifice to defraud; and/or

               •   made untrue statements of material facts, or omitted to state material facts

                   necessary in order to make the statements made, in the light of the

                   circumstances under which they were made, not misleading; and/or

               •   engaged in acts, practices, or courses of business which operated, or would

                   operate, as a fraud or deceit upon any person.

       39.     With regard to the violations of Section 10(b) of the Exchange Act and Rule 10b-

5(a), (b), and (c) thereunder, Defendants acted with scienter and engaged in the referenced acts

knowingly and/or with severe recklessness.

       40.     By reason of the foregoing, Defendants have violated, and unless enjoined will

continue to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(a)-(c)

thereunder [17 C.F.R. § 240.10b-5(a)-(c)].

                                 VI.    PRAYER FOR RELIEF

       41.     WHEREFORE, the SEC respectfully requests that this Court enter a Final

Judgment:

               •       Permanently restraining and enjoining Defendants from violating, directly

or indirectly, Section 10(b) of the Exchange Act and Rule 10b-5 thereunder;

               •       Permanently restraining and enjoining Brown from directly or indirectly,

including but not limited to, through any entity owned or controlled by him, participating in the


                                                 10
   Case 4:24-cv-00558-O Document 1 Filed 06/17/24                  Page 11 of 11 PageID 11



issuance, purchase, offer, or sale of any security; provided, however, that such injunction shall not

prevent him from purchasing or selling securities for his own personal account;

               •       Permanently barring Brown, pursuant to Section 21(d)(2) of the Exchange

Act, from acting or serving as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file

reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)];

               •       Ordering Brown to pay a civil penalty pursuant to Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)]; and

               •       Granting such other and further relief as this Court may deem appropriate,

just, equitable, and/or necessary.

                                     VII.    JURY DEMAND

       42.     The SEC demands trial by jury in this action on all issues so triable.


Dated: June 17, 2024                  Respectfully submitted,


                                      /s/ Patrick Disbennett____________
                                      Patrick Disbennett
                                      Texas Bar No. 24094629
                                      United States Securities and Exchange Commission
                                      Fort Worth Regional Office
                                      Burnett Plaza, Suite 1900
                                      801 Cherry Street, Unit 18
                                      Fort Worth, TX 76102
                                      Telephone: (817) 266-9633 (Disbennett)
                                      Facsimile: (817) 978-4927
                                      disbennettpa@sec.gov

                                      ATTORNEY FOR PLAINTIFF SECURITIES AND
                                      EXCHANGE COMMISSION




                                                 11
